       Case 1:04-cv-02462-WSD          Document 516        Filed 10/21/10     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION
 KRISTY BRYANT YULE, as
 Temporary Administrator of the
 Estate of MICHAEL BRYANT,
 JOHN DRAKE, BECKY KELLEY
 and HERBERT LOWE,
                       Plaintiffs,                        CIVIL ACTION FILE
 vs.                                                      NO. 1:04-cv-2462-WSD
 VERNON JONES, MARILYN BOYD
 DREW, MORRIS WILLIAMS,
 RICHARD STOGNER, in their individual
 capacities, and DEKALB COUNTY,
 GEORGIA,
                       Defendants.

                                       JUDGMENT

       This action having come before the court, Honorable William S. Duffey, Jr., United
States District Judge, for consideration of Plaintiffs' Motion for Attorneys' Fees and Expenses,
and the court having granted said motion, it is
       Ordered and adjudged that Plaintiffs recover from Defendants attorneys' fees in the
amount of $1,788,835.50 and expenses in the amount of $102,292.80, for a total award of
$1,891,128.30.
       Dated at Atlanta, Georgia this 21st day of October, 2010.
                                     JAMES N. HATTEN, CLERK OF COURT

                                     By:    s/ Denza F. Bankhead
                                                Deputy Clerk

Prepared, filed, and entered
in the Clerk's Office on October 21, 2010

James N. Hatten, Clerk of Court
By: s/ Denza F. Bankhead
       Deputy Clerk
